          Case 2:22-cv-00754-WBV Document 7 Filed 05/31/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA


    LARRY DAVIS                                                CIVIL ACTION

    VERSUS                                                     NO. 22-754-WBV

    JOSEPH LOPINTO                                             SECTION: “D”

                                              ORDER

       The Court, having considered the Complaint, the record, the applicable law,

the Report and Recommendation of the United States Magistrate Judge,1 and the

Plaintiff’s failure to file an objection to the Magistrate Judge’s Report and

Recommendation,2 hereby approves the Report and Recommendation of the United

States Magistrate Judge and adopts it as its opinion in this matter.

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff’s Complaint seeking relief

pursuant to 42 U.S.C. § 19833 is DISMISSED WITH PREJUDICE as malicious.

       New Orleans, Louisiana, May 31, 2022.


                                               __________________________________________
                                               WENDY B. VITTER
                                               UNITED STATES DISTRICT JUDGE




1 R. Doc. 4. Recognizing Plaintiff's pro se status, the Court has liberally construed the pleading.
2 Recognizing the plaintiff’s pro se status, the Court has allowed extra time for objections. None have
been received.
3 R. Doc. 1.
